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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA

                      Plaintiff,


               v.                                            Civil Action No.2:17-cv-2662

PAULSBORO REFINING COMPANY LLC,

                      Defendant.



              NOTICE OF LODGING OF PROPOSED CONSENT DECREE
                    FOR 30-DAY PUBLIC COMMENT PERIOD


               The attached proposed Consent Decree is.hereby lodged with the Court, pursuant

to 28 C.F.R. § 50.7, for public comment. Notice ofthe lodging of this Consent Decree, and the

 opportunity to comment thereon, will be published in the Federal Register. The United States

 will then receive public comments on the proposed Consent Decree for the requisite 30-day

 public comment period, as provided in the proposed Consent Decree. During the pendency of


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the public comment period, no action is required ofthis Court. After the public comment period

has expired, the Plaintiff will respond to any comments timely received and, should it appear to

that the settlement is in the public interest, file a motion asking the Court to sign and enter the

Consent Decree.

               The United States requests that the Court take no action with respect to the

lodged Consent Decree until the Plaintiffs move for the entry of the Consent Decree or

otherwise advises the Court.


                                       Respectfully submitted,

                                       ELLEN MAHAN
                                       Deputy Chief
                                       Environmental Enforcement Section


                                        /s/
                                       BRIAN G. DONOHUE
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